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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

 SAM STAMEY,                               )
                                           )
       Plaintiff,                          )
                                           )
 v.                                        ) Case No. 3:19-cv-000250-PPS-MGG
                                           )
 FOREST RIVER, INC.,                       )
                                           )
       Defendant.                          )

                      ANSWER AND AFFIRMATIVE DEFENSES
                         TO PLAINTIFF’S COMPLAINT

                                       ANSWER

       Defendant Forest River, Inc., by counsel, states the following for its Answer to

the Complaint and Jury Demand of Plaintiff Sam Stamey [DE 5] (the “Complaint”).

       1.      Stamey resides and is domiciled in Elkhart County, Indiana. He was

employed by Forest River beginning in October 2007 and ending on August 10, 2018

when Forest River constructively discharged him.

      ANSWER:        Forest River lacks sufficient knowledge or information to form a

belief as to the truth of where Stamey resides and is domiciled. Forest River denies the

remaining allegations in Paragraph No. 1 of Stamey’s Complaint.



       2.      Stamey filed timely Charges of Discrimination with the Equal

Employment Opportunity Commission alleging discrimination on the basis of age, sex

and retaliation. The EEOC eventually issued its Notices Of Right To Sue. This action

has been timely commenced pursuant to all applicable deadlines.

      ANSWER:        Forest River lacks sufficient knowledge or information to form a
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belief as to the truth of the allegations in Paragraph No. 2 of Stamey’s Complaint.



       3.      Forest River is a domestic, for profit corporation engaged in the

manufacture and sale of recreational vehicles of all types. Its principal place of business

is located in Elkhart County, Indiana. Forest River is an employer as defined by 42

U.S.C. 2000e(b) who had in excess of 500 employees for each working day in each of

twenty or more calendar weeks in the current or preceding calendar year. Forest River is

engaged in an industry affecting commerce.

      ANSWER:         Forest River admits that it is a domestic, for-profit corporation

engaged in the manufacture and sale of recreational vehicles. Forest River lacks sufficient

knowledge or information to form a belief as to the truth of the allegations in Paragraph No.

3 of Stamey’s Complaint.



       4.      Stamey is 63 years of age having been born on February 17, 1956. Stamey

is a single, heterosexual male.

      ANSWER:         Forest River lacks sufficient knowledge or information to form a

belief as to the truth of the allegations in Paragraph No. 4 of Stamey’s Complaint.



       5.      On June 8, 2018, Stamey filed with the EEOC his first Charge of

Discrimination against Forest River in which he alleged as follows:

       Mr. Stamey, who is presently 62 years 4 months of age, has been employed by
       Forest River since October 2007. He works in the Forest River's cargo trailer
       plant #16 located on Phillips Street in Elkhart, Indiana where he installs rough
       wiring. For the past 2 years, co­ workers have insulted, taunted, and tormented
       Mr. Stamey on account of his age and on account of sex in violation of the ADEA
       and Title VIL This harassment, both verbal and non-verbal, has created a hostile
       work environment for him. Mr. Stamey has complained about the harassment to



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       Forest River's management, including its Human Resources manager Wendy
       Tubicsak, but no remedy or resolution has occurred or has even been attempted.
       In April, 2018, management verbally reprimanded Mr. Stamey for taking his
       concerns to Ms. Tubicsak.

      ANSWER:         Forest River admits that Stamey filed a Charge of Discrimination that

 contained the allegations in Paragraph No. 5 of Stamey’s Complaint. Forest River denies

 the remaining allegations in Paragraph No. 5 of Stamey’s Complaint.



       6.       On November 5, 2018, Stamey filed with the EEOC his second Charge of

Discrimination against Forest River in which he alleged as follows:

       On June 8, 2018, Mr. Stamey filed a Charge of Discrimination against Forest
       River. See Charge Number 470-2018-03031. Following its filing, Forest River
       subjected Mr. Stamey to daily verbal harassment, insults, and taunting that made
       his working conditions intolerable, causing his constructive discharge on August
       10, 2018. Forest River retaliated against Mr. Stamey for filing the Charge and
       constructively discharged him.

      ANSWER:         Forest River admits that Stamey filed a Charge of Discrimination that

 contained the allegations in Paragraph No. 6 of Stamey’s Complaint. Forest River denies

 the remaining allegations in Paragraph No. 6 of Stamey’s Complaint.



       7.       While employed by Forest River, Stamey worked installing rough

electrical wiring at Forest River's cargo trailer plant 16. He was an honest, hard working,

punctual, and productive employee whose performance met his employer's reasonable

expectations.

      ANSWER:         Forest River denies the allegations in Paragraph No. 7 of Stamey’s

Complaint.



       8.       The ADEA makes it unlawful for an employer to discriminate against an



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employee with respect to his compensation, terms, conditions, and privileges of

employment because of such individual's           age.   An employer is prohibited from

retaliating against an employee for making a complaint about age discrimination.

Gomez-Perez v. Potter, 533 U.S. 474, 487- 489 (2008).

      ANSWER:         Forest River lacks sufficient knowledge or information to form a

belief as to the truth of the allegations in Paragraph No. 8 of Stamey’s Complaint.



       9.      Title VII makes it unlawful for an employer to discriminate against an

employee on the basis of sex. An employer's practice of gender stereotyping falls within

Title VII's prohibition against sex discrimination. See recently Hively v. Ivy Tech

Community College of Indiana, 853 F3d 339 (7th Cir. 2017) en banc, citing Price

Waterhouse v. Hopkins, 490 U.S. 228 (1989)(holding that female accountant who was

denied partnership because her employer considered her too masculine stated a gender

discrimination claim under Title VII).

      ANSWER:         Forest River lacks sufficient knowledge or information to form a

belief as to the truth of the allegations in Paragraph No. 9 of Stamey’s Complaint.




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       10.    Beginning in 2016 and continuing until his separation on August 10,

2018, Stamey's co-workers ridiculed and taunted him on account of his advanced age

and for failing to fit the mold of what they believed a man should be. They taunted

Stamey with age derogatory insults, both verbal and written, calling him "grandpa"

"Walmart greeter" "old bitch" "grandma" and "one foot in the grave." On other

occasions, co-workers berated Stamey for being effeminate and homosexual. Co-

workers hid or disabled his tools; glued his work locker shut; sabotaged his work; and

hung signs and wrote graffiti on his work locker, in his work area, and in the men's room,

targeting him with gay slurs.

      ANSWER:         Forest River denies the allegations in Paragraph No. 10 of Stamey’s

Complaint.



       11.    Initially Stamey tried to weather this abuse, hoping that it would abate in

frequency and intensity over time, but it did not. In the six months preceding his

resignation, it escalated to a nearly daily ordeal. The taunting, slights, insults and acts

of work sabotage created a hostile work environment for Stamey or at least he had a

reasonable, good faith belief that they had done so.

      ANSWER:         Forest River denies the allegations in Paragraph No. 11 of Stamey’s

Complaint.



       12.    Stamey complained about the co-worker harassment to Forest River's

management, including its Human Resources manager Wendy Tubicsak; its plant

manager, Scott McDonald; and group leader Michael Brady but no remedy or resolution

occurred or was even attempted. When plant manager Scott McDonald learned that




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Stamey had expressed his concerns to HR Manager Tubicsak in April, 2018, McDonald

angrily berated Stamey, telling him "you shouldn't have gone over my head." Forest

River was deliberately indifferent to the harassment of Stamey and failed to take

reasonable steps to eliminate it.

      ANSWER:         Forest River denies the allegations in Paragraph No. 12 of Stamey’s

Complaint.



       13.     Forest River committed unlawful retaliation against Stamey for engaging

in activity protected under Title VII and the ADEA, including expressing his reasonable,

good faith belief that he was being subjected to discrimination in the work place on the

basis of his age and his sex by making his working conditions so intolerable that he had

no other reasonable recourse but to resign his employment.

      ANSWER:         Forest River denies the allegations in Paragraph No. 13 of Stamey’s

Complaint.



       14.     Forest River acted with malice and or reckless indifference to Stamey’s

federally protected rights warranting an award of punitive damages;

      ANSWER:         Forest River denies the allegations in Paragraph No. 14 of Stamey’s

Complaint.



       15.     Stamey has had to retain legal counsel to prosecute this action;

       ANSWER:        Forest River lacks sufficient knowledge or information to form a

 belief as to the truth of the allegations in Paragraph No. 15 of Stamey’s Complaint.




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       16.     Stamey has sustained damages as a direct and proximate result of Forest

River’s unlawful discrimination. His economic damages include wage loss and loss of

health insurance coverage. His non-economic damages include mental and emotional

pain and suffering , humiliation, and anxiety.

       ANSWER:         Forest River denies the allegations in Paragraph No. 16 of Stamey’s

Complaint.



       WHEREFORE, the Plaintiff requests a judgment against Defendant in an amount

to fairly compensate him including damages for back pay; front pay; loss of health

insurance; general damages for mental pain and suffering, humiliation, and anxiety;

punitive damages; costs; and reasonable attorney's fees.

       ANSWER: Forest River denies that Stamey is entitled to any relief whatsoever.

Forest River requests that Stamey take nothing by way of his Complaint, that the Court enter

judgment in favor of Forest River and against Stamey on all of Stamey’s claims, and that the

Court award Forest River fees, costs, expenses, and all other just and proper relief.




                                   GENERAL DENIAL

         Forest River denies any allegations in Stamey’s Complaint to which Forest River

has not responded.




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                               AFFIRMATIVE DEFENSES

         For its affirmative defenses to Stamey’s Complaint, Forest River, by counsel, states:

       1.      Stamey has failed to state a claim upon which relief can be granted.

       2.      Stamey has failed to exhaust his administrative remedies as to some or all of

his claims.

       3.      Stamey’s complaint is barred, in whole or in part, because Forest River

exercised reasonable care to prevent and correct promptly any discriminatory or retaliatory

conduct and because Stamey unreasonably failed to properly take advantage of any preventive

or corrective opportunities provided by Forest River or to avoid harm otherwise.

       4.      Stamey has unreasonably failed to mitigate damages which he claims to have

sustained as a result of any act or omission allegedly committed by Forest River. Even if

Stamey’s allegations were true (which they are not), Stamey did not take reasonable measures

to mitigate any alleged harm and, therefore, his claim for damages fails.

       5.      Stamey’s claim for punitive damages is barred because of Forest River’s good

faith efforts to comply with anti-discrimination laws. Forest River uniformly implemented

and enforced policies and procedures designed to prevent unlawful discrimination, including

on the basis of sex and age.

       6.      Stamey’s claim for punitive damages is barred by or must be reduced because

it violates the excessive fines clause, the equal protection clause, and the due process clause

of the United States Constitution.

       7.      Forest River reserves the right to raise and plead additional defenses or

affirmative defenses that become known to it during ongoing investigation or through




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discovery. Moreover, Forest River reserves the right to delete such portions of this responsive

pleading at such time as it appears that such portions cannot be maintained in law or in fact.



Dated: May 3, 2019                            Respectfully submitted,

                                              /s/ Jesse M. Barrett
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                           CERTIFICATE OF SERVICE

      I hereby certify that on the 3rd day of May, 2019, service of a true and complete copy

of the attached and foregoing pleading was made upon all counsel of record through

CM/ECF filing.

                                                  /s/ Jesse M. Barrett
                                                  Jesse M. Barrett (23811-71)




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